Case: 4:22-cv-01040-HEA Doc. #: 49 Filed: 10/21/22 Page: 1 of 1 PageID #: 913

                                       US Court of Appeals - Eighth Circuit
                                               NOA Supplement
Caption:                                                                           USCA#:
  State of Nebraska et al v. Biden et al


Case Number:
  4:22-CV-01040-HEA

Plaintiff:                                            Defendant:
  STATE OF NEBRASKA, et al.                             JOSEPH R. BIDEN JR., et al.


Attorney:                                             Attorney:
  See Docket Sheet                                        See Docket Sheet


Court Reporter(s):                                    Please return files and documents to:
  None                                                  Clerk for Eastern District of Missouri

                                                      Person to contact about the appeal:
                                                        Joshua Cowen at 314-244-7900


 Length of trial                Fee:                    IFP:                           Pending IFP Motion
 N/A                            PAID                      None                         No

 Counsel:                       Pending Motions:        Local Interest:                Simultaneous Release:
 Yes                            No                        No                           No


Criminal Cases/Prisoner Pro Se Cases Only:
  Is defendant incarcerated?: No                 Where:

Please list all other defendants in this case if there were multiple defendants:
